Case 1:17-cr-00232-EGS Document 146 Filed 12/19/19 Page 1 of 6
         Case 1:17-cr-00232-EGS Document 146 Filed 12/19/19 Page 2 of 6



government has thus far obtained from the defendant’s substantial assistance, some of that

benefit may not be fully realized at this time because the investigations in which he has provided

assistance are ongoing. The defendant and the government agree that sentencing at this time is

nonetheless appropriate because sufficient information is available to allow the Court to

determine the import of the defendant’s assistance to his sentence.

       A.      Eastern District of Virginia Criminal Investigation

       The defendant has provided substantial assistance in a criminal investigation of Bijan

Rafiekian, Ekim Alptekin,                      being conducted by the U.S. Attorney’s Office for

the Eastern District of Virginia (“EDVA”) and the DOJ National Security Division (“NSD”), for

violating the Foreign Agents Registration Act (“FARA”), acting as agents of a foreign

government without notifying the Attorney General (18 U.S.C. § 951), and making materially

false statements to the federal government (18 U.S.C. § 1001). Part of the SCO’s investigation

concerned work that the defendant, Rafiekian, and their company performed with Alptekin for

the principal benefit of the Republic of Turkey (“Turkey project”). On December 1, 2017, as

part of his Statement of Offense, the defendant stipulated and agreed that he violated FARA by

making materially false statements in the documents that Rafiekian and he filed with DOJ about

that work for the Republic of Turkey. See Statement of Offense, United States v. Flynn, No.

17-cr-232 (D.D.C. Dec. 1, 2017) (Doc. 4) (“SOF”) at ¶ 5. The SCO subsequently referred that

investigation to EDVA and NSD.

       According to prosecutors in EDVA and NSD, the defendant’s cooperation and assistance

have been critical to their investigation. The EDVA and NSD prosecutors have interviewed the

defendant on multiple occasions, and have relied on statements the defendant made to the SCO


                                               -2-
            Case 1:17-cr-00232-EGS Document 146 Filed 12/19/19 Page 3 of 6



about the Turkey project. The defendant also

provided materials that substantially aided its investigation. According to the prosecutors, the

defendant’s assistance cemented their decision to seek to charge Rafiekian and Alptekin with

violating FARA and 18 U.S.C. § 951, among other offenses.




       B.       The Special Counsel’s Office’s Investigation

       The defendant has also assisted with the SCO investigation concerning links or

coordination between the Russian government and individuals associated with the Trump

campaign. See Office of the Deputy Att’y Gen., Order No. 3915-2017, Appointment of Special

Counsel to Investigate Russian Interference with the 2016 Presidential Election and Related

Matters, May 17, 2017 (“ODAG Order”). The defendant assisted the SCO’s investigation on a

range of issues, including interactions between individuals in the Presidential Transition Team

and Russia, discussions within the campaign about WikiLeaks’ release of emails, and potential

efforts to interfere with the SCO’s investigation. A non-exhaustive summary of the relevant

information the defendant provided is described below to aid the Court’s assessment of the

defendant’s assistance.

       i.       Interactions Between the Transition Team and Russia

       The defendant provided firsthand information about the content and context of

interactions between the transition team and Russian government officials. For example, after

the election, the defendant communicated with the Russian ambassador to the United States as a


                                               -3-
Case 1:17-cr-00232-EGS Document 146 Filed 12/19/19 Page 4 of 6
Case 1:17-cr-00232-EGS Document 146 Filed 12/19/19 Page 5 of 6
Case 1:17-cr-00232-EGS Document 146 Filed 12/19/19 Page 6 of 6
